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5
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     DERICK NOBLE
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:10-cr-437 WBS
12
                               Plaintiff,                SECOND STIPULATED (CORRECTED)
13                                                       MOTION AND [lodged] ORDER TO REDUCE
               v.                                        SENTENCE PURSUANT TO 18 U.S.C. §
14                                                       3582(c)(2)
     DERICK NOBLE,
15                                                       RETROACTIVE DRUGS-MINUS-TWO
                               Defendant.                REDUCTION CASE
16
                                                         Judge: The Honorable WILLIAM B. SHUBB
17
               On October 15, 2015, this Court ordered Defendant’s sentence reduced from 115 months
18
     to 92 months pursuant to the parties’ stipulated motion under 18 U.S.C. § 3582(c)(2) and
19
     Amendment 782. CR 311. Defendant, DERICK NOBLE, by and through his attorney, Assistant
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     Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and
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     through its counsel, Assistant U.S. Attorney Jason Hitt, now further stipulate as follows:
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               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
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     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
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     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
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     pursuant to 28 U.S.C. § 994(o);
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               2.         The sentencing range applicable to Mr. Noble was lowered by the United States
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     Sentencing Commission in Amendment 782, made retroactive on July 18, 2014, see 79 Fed. Reg.
28
     44,973;
     Stipulation and Order Re: Sentence Reduction         1
      Case 2:10-cr-00437-WBS Document 332 Filed 05/12/16 Page 2 of 3



1              3.         Mr. Noble’s total original offense level was 33, his criminal history category was
2    V, and the resulting guideline range was 210 to 262 months. As a result of a government motion
3    Mr. Noble received a term of imprisonment of 115 months;
4              4.         Under Amendment 782, Mr. Noble’s total offense level was reduced from 33 to
5    31, and his amended guideline range became 168 to 210 months. On October 15, 2015, this
6    Court ordered Defendant’s sentence reduced from 115 months to 92 months pursuant to the
7    parties’ stipulated motion under 18 U.S.C. § 3582(c)(2) and Amendment 782. (CR 311);
8              5.         The parties hereby request a further reduction of three months to an amended term
9    of 89 months imprisonment, which accurately represents a point “comparably less” than the
10   amended guideline range. See U.S.S.G. § 1B1.10(b)(2)(B);
11             6.         Accordingly, the parties request the Court enter the order lodged herewith
12   reducing Mr. Noble’s term of imprisonment to a term of 89 months. The parties agree this
13   sentence is fair and reasonable pursuant to 18 U.S.C. § 3553(a).
14             7.         The parties are able to provide further information to the Court if it is needed.
15   Respectfully submitted,
16   Dated: April 12, 2016                               Dated: April 12, 2016
17
     BENJAMIN B. WAGNER                                  HEATHER E. WILLIAMS
18   United States Attorney                              Federal Defender

19
      /s/Jason Hitt                                      /s/ Hannah R. Labaree __
20   JASON HITT                                          HANNAH R. LABAREE
     Assistant U.S. Attorney                             Assistant Federal Defender
21
     Attorney for Plaintiff                              Attorney for Defendant
22   UNITED STATES OF AMERICA                            DERICK NOBLE

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     Stipulation and Order Re: Sentence Reduction           2
      Case 2:10-cr-00437-WBS Document 332 Filed 05/12/16 Page 3 of 3


                                                    ORDER
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               The court has considered the above the stipulated motion for reduction of sentence
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     pursuant to 18 U.S.C. § 3582(c)(2). The parties agree, and the Court has previously found, that
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     defendant is entitled to the benefit Amendment 782, which reduces the total offense level from
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     33 to 31, resulting in an amended guideline range of 168 to 210 months. The original sentence
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     took into account not only the guidelines as they existed at that time, but all of the relevant
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     sentencing factors, as well as the government’s motion for a departure under Section 5K1.1 of
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     the Sentencing Guidelines. The court’s subsequent determination to reduce the sentence to 92
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     months was not based just upon the mathematical computation to arrive at a reduction
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     comparable to the sentence defendant originally received pursuant to § 1B1.10(b)(2)(B) of the
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     Sentencing Guidelines, but also upon the court’s consideration of the relevant and applicable
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     sentencing factors under 18 U.S.C. § 3553(a). Notwithstanding the stipulations of counsel, upon
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     a motion for reduction of sentence pursuant to18 U.S.C. § 3582(c)(2) the court has an
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     independent obligation to impose a sentence which is fair and reasonable pursuant to 18 U.S.C. §
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     3553(a). Upon further consideration of the entire record, including the pending motion for
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     further reduction of sentence to 89 months, the court finds no reason to modify its previous order
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     reducing the sentence to 92 months.
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               IT IS THEREFORE ORDERED defendant’s stipulated motion for further reduction of
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     his sentence to 89 months be, and the same hereby is, DENIED.
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               Dated: May 12, 2016
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     Stipulation and Order Re: Sentence Reduction      3
